 1                                                             The Honorable Brian D. Lynch
                                                               Chapter 11
 2                                                             Location: Tacoma, Courtroom I
                                                               Date of Hearing: To be Determined
 3                                                             Time of Hearing: To be Determined
                                                               Response Date: At or Before Hearing
 4

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 8                               UNITED STATES BANKRUPTCY COURT
                                 WESTERN DISTRICT OF WASHINGTON
 9                                          AT TACOMA
10   In re:                                                    Lead Case No. 21-41340-BDL

11   SHILO INN, BEND, LLC, et. al.,1,                          (Jointly Administered with Case
                                                               No. 21-41341-BDL)
12            Debtors and Debtors-in-Possession.
                                                               DECLARATION OF LARRY
13   _______________________________________                   CHANK IN SUPPORT OF:

14       Affects All Debtors                                   EMERGENCY MOTION FOR
                                                               AUTHORITY TO (1) PAY
15      Affects SHILO INN, BEND, LLC                           PREPETITION PRIORITY WAGES,
16      Affects SHILO INN, WARRENTON, LLC                      COMMISSIONS AND BONUSES;
                                                               AND (2) HONOR ACCRUED
17                                                             VACATION AND LEAVE
                                                               BENEFITS IN THE ORDINARY
18                                                             COURSE OF BUSINESS;
19                                                             EMERGENCY MOTION FOR
20                                                             ENTRY OF AN ORDER
                                                               AUTHORIZING DEBTORS TO
21                                                             PROVIDE ADEQUATE
                                                               ASSURANCE OF FUTURE
22                                                             PAYMENT TO UTILITY
                                                               COMPANIES PURSUANT TO
23
                                                               SECTION 366(c) OF THE
24                                                             BANKRUPTCY CODE;

25
     1
       The Debtors are Shilo Inn, Bend, LLC, Bankruptcy Case No. 21-41340-BDL and Shilo Inn, Warrenton, LLC,
26   Bankruptcy Case No. 21-41341-BDL. The cases are jointly administered.

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 1
                                                            EMERGENCY MOTION FOR
 2                                                          ENTRY OF AN ORDER
 3                                                          AUTHORIZING THE DEBTORS TO
                                                            HONOR CERTAIN PREPETITION
 4                                                          OBLIGATIONS TO CUSTOMERS

 5
              I, Larry Chank, hereby declare as follows:
 6

 7            1.        I am over 18 years of age. I have personal knowledge of the facts set forth below

 8   and, if called to testify, would and could competently testify thereto.

 9            2.        I am currently employed as the CEO of Shilo Management Corporation (“SMC”),

10   which is the manager and operator of the Hotels (as defined below) owned by Shilo Inn, Bend,

11   LLC (“Shilo Bend”) and Shilo Inn, Warrenton, LLC (“Shilo Warrenton”) (each a “Debtor” and,

12   collectively, the “Debtors”) the debtors and debtors in possession in the above-captioned, jointly-

13   administered chapter 11 bankruptcy cases.

14            3.        I have reviewed and am familiar with and am knowledgeable about the books and

15   records of SMC and the Debtors, which books and records are made in the regular practice of

16   business, kept in the regular course of business, made by a person with knowledge of the events

17   and information related thereto, and made at or near the time of events and information recorded.

18            4.        I was hired as CEO of SMC in February 2019, in which role I have continued to

19   serve to this present day. I am the authorized agent for the Debtors in their respective chapter 11

20   bankruptcy cases.

21            5.        I began my hospitality career in 1988 and have hands-on experience in hotel &

22   restaurant operations (15 years) and accounting/finance (49 years). I am a 1970 graduate of

23   Niagara University, Niagara Falls, New York, with a BBA in accounting and service as a

24   Lieutenant in the Army Artillery. Prior to Shilo Inns, my position was the CFO/Controller for the

25   Hopi Tribe Economic Development Corporation, and, in addition to my accounting duties, this

26   position allowed me to advise the Hopi Tribe on matters related to operation of their residential,

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 1   commercial, hotel, restaurant, travel plaza, and other real estate developments. I have a Certified

 2   Public Accountant license issued in the State of New York, and I am a licensed real estate broker

 3   in the State of California.

 4            6.         My duties have included the management and oversight of accounting personnel,

 5   including Accounts Payable, Accounts Receivable, Payroll, General Ledger, Audit, Treasury,

 6   Budgets, Cash Flow, Financial Reporting, Human Resources, and Information Systems.

 7            7.        I make this declaration in support of the Debtors’ “first day motions” (each a

 8   “Motion” and, collectively, the “Motions”) listed here as follows:

 9                 a. Debtors’ Emergency Motion for Authority to (I) Pay Prepetition
10                    Wages, Commissions and Bonuses; and (II) Honor Accrued
                      Vacation and Leave Benefits in the Ordinary Course of Business
11                    (the “Wage Motion”);

12                 b. Debtors’ Emergency Motion for Entry of an Order Authorizing
                      Debtors to Provide Adequate Assurance of Future Payment to
13                    Utility Companies Pursuant to Section 366(c) of the Bankruptcy
14                    Code (the “Utilities Motion”); and

15                 c. Debtors’ Emergency Motion for Entry of an Order Authorizing
                      Debtors to Honor Certain Prepetition Obligations to Customers (the
16                    “Customer Loyalty Program Motion”).
17   A.       General Information

18            8.        The Debtors commenced their respective chapter 11 bankruptcy cases by each

19   filing a voluntary petition under chapter 11 of title 11, sections 101 et seq. of the United States

20   Code, (the “Bankruptcy Code”) on August 13, 2021 (the “Petition Date”).

21            9.        The Debtors continue to operate their businesses and manage their financial affairs

22   as debtors in possession. No committee of unsecured creditors has been formed, and no trustee

23   has been appointed. The Debtors’ two case numbers are 21-41340 and 21-41341.

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 1   B.       The Two Hotels

 2            10.       Mark S. Hemstreet has been the proud founder and owner and of the Shilo Inn

 3   Suites Hotel chain since 1974. Today, there are thirteen (13) company-owned Shilo Inn hotels

 4   across the western states, including one Shilo hotel in Killeen, Texas.

 5            11.       Each of the two Debtors owns a hotel (each a “Hotel” and, collectively, the

 6   “Hotels”), as described in greater detail below.

 7            12.       The Hotels are collateral for certain promissory notes (each a “Loan” and,

 8   collectively, the “Loans”) originally made in November 2015 and now held by RSS

 9   WFCM2015NXS4-OR SIB, LLC (as to the loan to Shilo Bend), and RSS WFCM2016NXS5-

10   OR SIW, LLC (as to the loan to Shilo Warrenton), (each a “Lender” and, collectively, the

11   “Lender”) and serviced by Rialto Capital Advisors, LLC (“Rialto”).

12            13.       Shilo Bend operates a 151-room/suite, two-story, full-service hotel in Bend,

13   Oregon (the “Bend Hotel”), on fee title land, operated pursuant to a franchise agreement with

14   Shilo Franchise International (“SFI”) and managed by Shilo Management Corporation (“SMC”).

15   The Shilo Bend property has an outdoor pool and spa, indoor pool with sliding open-roof

16   membrane and two spas, and steam and sauna room, exercise fitness center, guest laundry, as well

17   as a free-standing restaurant and lounge and banquet facility, currently seeking a restaurant tenant.

18   The Bend Hotel has approximately 29 employees. Based on the appraisal opinion of Mark

19   Hemstreet, the fair market value of the Bend Hotel is at least between $15,000,000 and

20   $20,000,000.

21            14.       Shilo Warrenton operates a 63-all-suites, four-story hotel plus an independent free-

22   standing restaurant that is leased in Warrenton, Oregon (the “Warrenton Hotel”), on fee title land,

23   operated pursuant to a franchise agreement with SFI and managed by SMC. The Shilo Warrenton

24   property has an indoor pool, spa, steam and sauna room, fitness and business center, and meeting

25   room. The Warrenton Hotel has approximately 15 employees. Based on the appraisal opinion of

26

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 1   Mark Hemstreet, the fair market value of the Warrenton Hotel is at least between $7,000,000 and

 2   $8,000,000.

 3            15.       The Hotels have enjoyed historical success as stand-alone businesses leading up

 4   to 2020. Despite these challenges, the Debtors continued to maintain the properties in first-class,

 5   excellent condition and in compliance with Shilo Inn franchise standards. Unfortunately, in 2020

 6   the Hotels experienced a sudden and sharp decline in hotel revenues due to the Covid-19 global

 7   pandemic and unprecedented global recession. Despite the availability of a vaccine, uncertainty

 8   with the Covid-19 delta variant has continued to suppress travel demand in the hotel and

 9   hospitality sector.

10   C.       The Hotels Secured by Loans with the Lender

11            16.       On or about November 2, 2015, each of the Debtors entered into loan agreements

12   with Natixis Real Estate Capital, LLC (“Natixis”).            On information and belief, Natixis

13   collateralized the Loans into commercial mortgage backed securities and sold them as investments

14   in the market. The Loans were being serviced by Wells Fargo prior to being moved to special

15   servicing with Rialto in or about November 2018. Mark S. Hemstreet, founder of Shilo Inns, is a

16   personal guarantor on the Loans.

17            17.       The Debtors made timely payments on the Loan for three years until the third

18   quarter of 2018. Despite what might appear to have been a better economy on Wall Street with

19   record Dow Jones stock averages, the general American economy continued to be a struggle for

20   America’s working class, which continues to have reverberations in the markets serving America’s

21   working class families. Shilo Inn has a long and proud 47-year-plus history of providing high

22   quality resort, hotel, and vacation services to American families in the Pacific Northwest, and

23   several western states, including Washington, Oregon, Idaho, Montana, Arizona, Nevada, and

24   Texas. Shilo Inn has been a strong supporter and charitable donor to the service men and women

25   of the United States Armed Forces, and Shilo is proud of its commitment to America’s men and

26   women in uniform and America’s working class. As America’s working class continued to

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 1   struggle through this economy, the Debtors nonetheless made timely debt service to the Lender

 2   for three years. But when the economic conditions strained the ability to make payments in late

 3   2018, the Lender took increasingly aggressive steps to foreclose on the Debtors’ assets.

 4            18.       For twelve months from approximately November 2018 to September 2019, the

 5   Debtors made numerous offers to the Lender and Rialto in efforts to bring current and reinstate the

 6   Loan through settlement. In the approximately 30 months leading up to the bankruptcy filings,

 7   Rialto controlled most of the Debtors’ operating cash accounts under a lockbox cash management

 8   provision, making it very challenging for SMC and SFI to operate the hotels. Rialto collected all

 9   of the operating cash that Shilo created and insisted that the Debtors’ affiliates, SFI, SMC, and Mr.

10   Hemstreet personally pay for all of the expenses, including, but not limited to, labor, payroll,

11   utilities, insurance, vendors, supplies, and taxes at the Hotels rather than use the Debtors’ own

12   generated operating cash and reserves to pay their own expenses. The Debtors were required to

13   submit monthly operating expense draw requests at the end of each month and then have to wait

14   at least another 45 days to ever receive reimbursement, resulting in SMC, SFI and Mr. Hemstreet

15   having to advance and fund millions of dollars to the Hotels and causing more financial hardship

16   on the Debtors, affiliates, SMC, SFI, and Mr. Hemstreet. During this period in 2019, the Debtors

17   also learned that Rialto had used the lockbox funds to pay outstanding amounts due under the

18   Loans, informing the Debtors weeks after the fact.

19            19.       On January 23, 2020, the Debtors and Rialto, on behalf of Lender, each entered into

20   separate Forbearance Agreements wherein Rialto agreed to forbear from exercising its rights and

21   remedies until July 23, 2020. Upon execution of its Forbearance Agreement, Shilo Bend paid

22   Lender the amount of $508,704 to be applied to outstanding amounts due under the Shilo Bend

23   Loan. Upon execution of its Forbearance Agreement, Shilo Warrenton paid Lender the amount of

24   $243,531 to be applied to outstanding amounts due under the Shilo Warrenton Loan. In addition,

25   the Debtors brought current their past due monthly loan payments owed for November and

26   December 2019 and January 2020 in the total amount of $183,138.51 for the Shilo Bend Loan and

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 1   $90,306.90 for the Shilo Warrenton Loan. Thereafter, the Debtors were required to make the

 2   regular principal and interest payments on the Loan. The Debtors were current on the payments

 3   required under the Forbearance Agreement until the onset of the COVID-19 pandemic.

 4            20.       The American economy in general and the hotel industry in particular have been

 5   decimated as a result of the pandemic and the applicable state and local stay at home orders.

 6   Specifically, the pandemic and applicable stay at home orders caused a sudden and dramatic loss

 7   of revenues and occupancy at the Hotels just when the Hotels would normally experience

 8   increasing revenues coming out of winter and going into spring break. As a result of the COVID-

 9   19 pandemic and the immediate loss of revenue and occupancy as a result of the stay at home

10   orders, the Debtors unfortunately defaulted under the Forbearance Agreement. The Debtors are

11   not unique among hotel owners and operators defaulting on loans and facing foreclosure as a result

12   of the COVID-19 pandemic. A 2020 survey by the American Hotel and Lodging Association

13   estimated that half of hotel owners in the country are in danger of foreclosure as a result of the

14   pandemic. It is incumbent upon hospitality lenders to work with their borrowers during these

15   unfortunate times.

16            21.       While vaccines for COVID-19 are available for the general population, the United

17   States has struggled to convince its population to accept the vaccine and reach a critical level of

18   herd immunity. In the meantime, children under the age of 12 remain unable to receive the vaccine,

19   and the highly contagious and more deadly COVID-19 delta variant is spreading rapidly across

20   the country in what the national medical community has called a pandemic of the unvaccinated

21   (with even an apparent rise in breakthrough cases among the vaccinated as well). The confluence

22   of these terrible events has continued to suppress hotel and hospitality demand.

23            22.       Rialto scheduled non-judicial foreclosure sales of the Hotels, which were continued

24   and rescheduled from time to time, until August 16, 2021. In addition to the payments under the

25   Forbearance Agreements as set forth above, since the termination of the Forbearance Agreements,

26   the Shilo organization paid to Rialto additional and substantial sums to postpone the foreclosures

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 1   sales while the parties attempted to reach a further out-of-court agreement on restructuring the

 2   debts. Additionally, SFI and SMC have forgone and not received franchise and management fees

 3   since at least September 2018 as part of Shilo’s good faith effort to accomplish a successful

 4   restructuring.

 5            23.       Even when three of the Debtors’ affiliates (Shilo Inn, Ocean Shores, LLC, Shilo

 6   Inn, Nampa Suites, LLC, and Shilo Inn, Idaho Falls, LLC) (collectively, the “2020 Shilo Debtors”)

 7   were forced to file for chapter 11 bankruptcy protection in the Fall of 2020, the Debtors continued

 8   to make good faith refinancing and settlement proposals to Rialto based on the expressed interest

 9   of third-party refinancing lenders with global settlement/refinancing offers. Unfortunately, despite

10   the Debtors sharing with Rialto the most recent names of pending new third-party refinancing

11   lenders and repeated requests to postpone foreclosure, Rialto would not agree to postpone the

12   foreclosure sales on the Debtors’ Hotels.

13            24.       Faced with the foreclosure sales, the Debtors determined in their reasonable

14   business judgment that it would be best to file for chapter 11 bankruptcy protection for the benefit

15   of all creditors, to save the jobs of the 44 employees who work at the Hotels, and to save the equity

16   in the Hotels through a reorganization of their financial affairs in bankruptcy court.

17   D.       Prepetition Wages

18            25.       In the operation of the Hotels, the Debtors employ in the aggregate approximately

19   44 employees on the premises. Each payroll covers a two-week period. The prepetition portion

20   of the Debtors’ unpaid payroll period is shown on Exhibit 1 to this Declaration, including the

21   dates covered, when Shilo does payroll, cuts checks, initiates direct deposits, and funds payroll.

22   Collectively, this period is referred to as the “Prepetition Period” and the wages as the “Prepetition

23   Wages.” The Debtors make payroll in two tranches. Shilo Bend pays its staff on August 18,

24   2021, and its hotel managers on August 25, 2021, with a recurring staggered payroll. Shilo

25   Warrenton pays its staff and hotel managers on the same payroll together, with the next payroll

26   due on August 25, 2021. SMC has already paid the August 18 payroll with its own funds (not

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 1   estate funds) so that there is no disruption to the employees’ pay during this difficult Covid-19

 2   time, and by this Motion SMC seeks permission for reimbursement of this amount. The Debtors

 3   submit that these hotel managers are not insiders because they do not have any control over the

 4   Debtors’ financial affairs, budgeting, or macro-decisions, which are all made by the corporate

 5   office at SMC (the SMC corporate employees are paid by SMC, not the Debtors, and are not part

 6   of the Wage Motion). The amounts on Exhibit 1 represent the total gross amount of prepetition

 7   payroll, including workers compensation contributions, medical benefit contributions, federal and

 8   state withholding taxes, payroll taxes, and service fees to SMC. None of the employees to be

 9   paid Prepetition Wages are insiders. A redacted list of the employees and the amounts of the

10   Prepetition Wages are shown on Exhibit 1 to this Declaration. The names of the employees have

11   been redacted to protect their privacy, but an un-redacted version will be submitted to the U.S.

12   Trustee, the Court, and Rialto, if requested.

13            26.       The source of funds to be used to honor the wages, salaries, commissions and

14   bonuses for the Prepetition Period will be the Debtors’ revenue, which may constitute the cash

15   collateral of the Lender and a number of other secured creditors. The Debtors’ request to use cash

16   collateral is included in a separate motion filed concurrently herewith.

17            27.       By way of the Wage Motion, the Debtors seek authority to transfer the exact

18   amount of funds necessary to SMC for the express purpose of paying non-insider, Prepetition

19   Wages, within the limits of $13,650 per employee.

20            28.       All of the employees to which the Debtors seek to pay wages, salaries,

21   commissions, and bonuses for the Prepetition Period are still employed by the Debtors. The

22   Debtors submit that approval to honor the employees’ wages, salaries, commissions, and bonuses

23   for the Prepetition Period, including all federal and state withholding taxes, payroll taxes,

24   employer matching 401(k) contributions, and payroll service fees, will not render any estate

25   administratively insolvent.

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 1            29.       The Debtors’ employees are integral to the Debtors’ continued operation and the

 2   generation of revenue, while preserving the value of all of the estates. In short, the Debtors cannot

 3   continue to operate and reorganize without the employees. If the Debtors do not continue to pay

 4   their employees their ordinary and earned wages, salaries, commissions, and bonuses, the

 5   employees will likely quit, and especially in today’s post-Covid pandemic era, it is very difficult

 6   to find new employees. Without employees, the Debtors’ operations and the value of their

 7   business will be severely impaired, if not eviscerated altogether.

 8   E.       Utilities

 9            30.       To operate the Hotels, the Debtors receive water, gas, electricity, sewer, garbage

10   telephone, TV, movie/cinema, internet, and similar utility services from a number of utility

11   companies (each a “Utility Company,” and collectively, the “Utility Companies”). Given the

12   importance of the services provided by the Utility Companies to the Debtors’ businesses, it is

13   crucial that the means of providing adequate assurance to the Utility Companies which provide

14   utility services to the Debtors be determined so that there is no interruption in the services

15   provided.

16            31.       Prior to the commencement of the Debtors’ bankruptcy cases, the Utility

17   Companies listed in Exhibit 2 to this Declaration provided utility services to the Debtors. The

18   Debtors intend to provide adequate “assurance of payment” by providing each of the Utility

19   Companies listed in Exhibit 2 with a cash deposit, as authorized by Section 366(c)(1)(A)(i) of

20   the Bankruptcy Code, in the amounts set forth in Exhibit 2, provided that the Debtors will

21   continue to utilize such services. The proposed deposit amounts were determined based on an

22   average of the three (3) monthly ledgers reflecting expenses the Debtors incurred for the

23   respective Utility Companies. To the extent that a deposit is already in place with a particular

24   Utility, such amount was deducted from the proposed deposit sought herein. The source of funds

25   to be used to pay the cash deposits to the Utility Companies will be the Debtors’ post-petition

26   revenues and cash on hand.

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 1   F.       Customer Loyalty Program Obligations

 2            32.       The Debtors’ Hotels are just two of thirteen (13) affiliated hotels under the SFI

 3   brand. The Star Program allows customers of Shilo Inns to earn 1 point per dollar spent on room

 4   rates per day, excluding tax and other expenses. For each 900 points gained, the customer can

 5   earn a free night at a Shilo Inn hotel. Accordingly, Shilo customers can also earn a variety of

 6   certificates with points ranging from 250-900, which is clearly stated on the Shilo Inn website

 7   under Star Rewards along with its terms and conditions. The Debtors submit that the Star Program

 8   provides benefits to all of the Debtors because it encourages customers to be loyal in choosing

 9   these two hotels over the many other hotel choices that they have in each region. Without the Star

10   Program, it is almost certain that the Debtors will lose business and future business from customers

11   who would otherwise not have this incentive to be loyal in choosing Shilo hotels.

12            33.       The Debtors submit that the discretion to honor the Star Program is essential to the

13   Debtors’ maintenance of positive customer relations, as a failure to honor the existing Star Program

14   is certain to detrimentally affect customer goodwill and impair the Debtors’ ability to generate

15   repeat business from the Debtors’ customers. If the Debtors are not authorized to honor the Star

16   Program in their discretion, the Debtors’ ability to continue to generate business, successfully

17   reorganize and/or maximize value for creditors could be seriously jeopardized, particularly where

18   the underlying transaction involves long-standing, crucial customers.

19            34.       The Debtors engage in the Star Program in the ordinary course of their business.

20   The Debtors’ most important clients are familiar with the Star Program and expect the benefits

21   they receive from them. The success of the Debtors’ business and the ability of the Debtors to

22   successfully reorganize and/or to maximize value for creditors are completely dependent upon the

23   loyalty, confidence, and continued patronage of their clients. Any delay in honoring the Star

24   Program obligations likely will create immediate and irreparable customer dissatisfaction and

25   frustration, causing clients to offer their business to the Debtors’ competitors.

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              35.       At a time when customer loyalty and patronage is critical to the Debtors'

2    reorganization efforts, the Debtors submit that it is entirely necessary, and appropriate, for the

 3   Court to issue an order allowing the Debtors to continue to honor the Star Program in these

 4   circumstances.

 5            I declare under penalty of perjury under the laws of the United States of America that the

 6   foregoing is true and correct to the best of my knowledge.

 7            Executed on this 20th day of August 2021, at Portland, Oregon.

8

9
10
11
              Respectfully submitted:
12
              DATED: August 20, 2021.
13
                                                   LEVENE, NEALE, BENDER,
14                                                 YOO & BRILL L.L.P.
15
                                                   Isl John-Patrick M Fritz
16                                                 David B. Golubchik (admitted pro hac vice)
                                                   J.P. Fritz (admitted pro hac vice)
17
                                                   Proposed Attorneys for Debtors and
18                                                 Debtors-in-Possession
19                                                 STOEL RIVES LLP
20
                                                   Isl Bryan T. Glover
21                                                 Bryan T. Glover, WSBA No. 51045
22                                                 Proposed Attorneys for Debtors and
                                                   Debtors-in-Possession
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                       EXHIBIT 1




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                                        Report:   Payroll Pay Statements: Default
                                    Sorted By:    Last Name Ascending
                                   Filtered By:   Employee Filter: All Employees; Default Location starts with bend
                                  Date & Time:    08/20/2021 08:48a
                                 Generated By:    Shelly J. Meyer
                                    Company:      SHILO INNS (6013713)

   First Name        Last Name           Type        Status         #        Pay Date        Regular Hours            Gross        Net Payment       Default Location      Employee Status    Date Terminated        Sick Hours          Vacation Hours
Michele         Angel                 Regular     Finalized    804751          08/18/2021                44.42           $755.14         $614.89 Bend - 030             Active                                   -                   -
Cody            Berger                Regular     Finalized    804752          08/18/2021                80.00         $1,654.55       $1,066.31 Bend - 030             Active                                   -                   -
Suzanne         Boyd                  Manual      Finalized    804743          08/18/2021                41.36           $703.12         $584.14 Bend - 030             Terminated                    08/06/2021 -                   -
PATRICK         CORK                  Regular     Finalized    804753          08/18/2021                79.99         $1,401.93       $1,049.05 Bend - 030             Active                                   -                   -
Imari           Cross                 Regular     Finalized    804754          08/18/2021                55.67           $974.44         $783.94 Bend - 030             Active                                   -                   -
Cindy           DeVore                Regular     Finalized    804755          08/18/2021                80.00         $1,807.69       $1,334.96 Bend - 030             Active                                   -                   -
Jeremiah        DeVore                Regular     Finalized    804756          08/18/2021                80.00         $1,608.37       $1,198.62 Bend - 030             Active                                   -                   -
Sherri          DeVore                Regular     Finalized    804757          08/18/2021                62.24         $1,110.87         $874.35 Bend - 030             Terminated                    08/16/2021 -                   -
Marissa         Fracasso              Regular     Finalized    804758          08/18/2021                80.00         $1,529.07       $1,177.71 Bend - 030             Active                                   -                   -
MARIA           GARCIA                Regular     Finalized    804759          08/18/2021                65.11         $1,502.10       $1,306.15 Bend - 030             Active                                   -                                   16.00
Becky           Grotting              Regular     Finalized    804760          08/18/2021                16.75           $284.75         $231.23 Bend - 030             Active                                   -                   -
Alicia          Harris                Regular     Finalized    -65302          08/18/2021                80.00         $1,394.94       $1,139.13 Bend - 030             Active                                   -                   -
Liliana         Hicks                 Regular     Finalized    804761          08/18/2021                39.35           $501.71         $426.50 Bend - 030             Active                                   -                   -
Amanda          Holmdahl              Regular     Finalized    804762          08/18/2021                80.00         $1,596.13       $1,198.80 Bend - 030             Active                                   -                   -
Samantha        Keller                Regular     Finalized    804763          08/18/2021                78.80         $1,440.58       $1,113.73 Bend - 030             Active                                   -                   -
MICHAEL         KIMBROUGH             Regular     Finalized    804764          08/18/2021                71.87         $1,397.73       $1,099.38 Bend - 030             Active                                                8.00 -
Scott           Kloss                 Manual      Finalized    804734          08/18/2021                81.37         $1,423.98       $1,119.43 Bend - 030             Terminated                    07/26/2021 -                   -
DALE            LEHNERTZ              Regular     Finalized    804765          08/18/2021                56.70         $1,020.60         $852.28 Bend - 030             Active                                   -                   -
MATTHEW         LEHNERTZ              Regular     Finalized    804766          08/18/2021                47.88           $610.47         $500.32 Bend - 030             Active                                   -                   -
Julia           Martinez              Manual      Finalized    804744          08/18/2021                61.23         $1,040.91         $824.24 Bend - 030             Terminated                    08/07/2021 -                   -
Larry           Meisner               Regular     Finalized    804767          08/18/2021                80.00         $1,579.35       $1,289.83 Bend - 030             Active                                   -                   -
Kevin           Payne                 Regular     Finalized    804768          08/18/2021                79.47         $1,445.59       $1,298.67 Bend - 030             Active                                   -                   -
Tyrell          Ramirez-Mollet        Regular     Finalized    804769          08/18/2021                63.08         $1,266.67         $951.60 Bend - 030             Active                                   -                   -
Adam            Rubio                 Regular     Finalized    804770          08/18/2021                73.83         $1,255.11         $978.98 Bend - 030             Active                                   -                   -
Gabriel         Sansom                Regular     Finalized    804771          08/18/2021                43.59           $741.03         $604.31 Bend - 030             Terminated                    08/17/2021 -                   -
Cole            Stuart                Regular     Finalized    804772          08/18/2021                39.03           $663.51         $546.59 Bend - 030             Terminated                    08/17/2021 -                   -
Carmen          Tilles-Hinson         Regular     Finalized    804773          08/18/2021                47.83         $1,219.58         $961.60 Bend - 030             Active                                   -                   -
Lee             Woods                 Regular     Finalized    804774          08/18/2021                22.66           $362.56         $310.22 Bend - 030             Active                                   -                   -
Macy            Young                 Regular     Finalized    804775          08/18/2021                80.00         $1,360.00       $1,253.72 Bend - 030             Active                                   -                   -


Total
                                                                                                      1812.23         $33,652.48      $26,690.68                                                                              8.00                   16.00




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                                                        Report:   Payroll Pay Statements: Default
                                                  Grouped By:     Default Location
                                                    Sorted By:    Last Name Ascending
                                                   Filtered By:   Employee Filter: All Employees
                                                  Date & Time:    08/20/2021 08:50a
                                                 Generated By:    Shelly J. Meyer
                                                    Company:      SHILO INNS (6013713)

Default Location   Bend - 030
                   First Name            Last Name                Type       Status       #          Pay Date        Regular Hours       Gross                Net Payment       Employee Status   Date Terminated   Sick Hours    Vacation Hours
                   Alexandria            Berger                   Regular    Finalized    804917        08/25/2021               80.00            $2,115.38           $1,670.80 Active                              -             -
                   MICHAEL               BORDEN                   Regular    Finalized    804918        08/25/2021               80.00            $2,500.00           $1,966.68 Active                              -             -
Subtotal                                                                                                                        160.00            $4,615.38           $3,637.48                                     -             -



Default Location   Warrenton - 145
                   First Name            Last Name                Type       Status       #          Pay Date        Regular Hours       Gross                Net Payment       Employee Status   Date Terminated   Sick Hours    Vacation Hours
                   Robin                 Bergeson                 Regular    Finalized    804971        08/25/2021               43.96             $659.40              $543.14 Active                              -             -
                   Forrest               Bigelow                  Regular    Finalized    804972        08/25/2021               35.74             $536.10              $451.83 Active                              -             -
                   MICHELLE              CAREY                    Regular    Finalized    804973        08/25/2021               80.00            $1,711.54           $1,274.42 Active                              -             -
                   Tristian              Forcum                   Regular    Finalized    804974        08/25/2021               78.53            $1,168.92             $880.07 Active                              -             -
                   Brooke                Frankl                   Regular    Finalized    804975        08/25/2021               65.02            $1,214.04             $919.85 Active                                      12.00 -
                   Lisa                  Gollihar                 Regular    Finalized    804976        08/25/2021               66.83            $1,603.27           $1,207.81 Active                                      18.00 -
                   Thomas                Jolly                    Regular    Finalized    804977        08/25/2021               80.00            $1,313.01           $1,011.52 Active                              -             -
                   Evelyn                Madison                  Regular    Finalized    804978        08/25/2021               28.64             $400.96              $343.58 Active                              -             -
                   Allison               McMillan                 Regular    Finalized    804979        08/25/2021               80.00            $1,403.90           $1,068.45 Active                              -             -
                   Cynthia               Morrison                 Regular    Finalized    804980        08/25/2021               73.11            $1,023.54             $775.48 Active                              -             -
                   Colleen               O'neill                  Regular    Finalized    804981        08/25/2021               48.92             $684.88              $529.97 Active                              -             -
                   Cherish               Peterson                 Regular    Finalized    804982        08/25/2021               33.41             $484.45              $383.30 Active                              -             -
                   Micaela               Rodriguez                Regular    Finalized    804983        08/25/2021               64.01            $1,056.79             $799.18 Active                              -             -
                   Joseph                Taylor                   Regular    Finalized    804984        08/25/2021               46.93             $703.95             $543.29 Active                               -             -
Subtotal                                                                                                                        825.10           $13,964.75          $10,731.89                                             30.00 -




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                       EXHIBIT 2




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Shilo Inn, Bend, LLC
Utility Providers
As of August 13, 2021


                                                                                                Security     Previous Bill Previous Bill Previous Bill Proposed                                              Utility Tel.
     Utility Provider Name           Type of Utility      Account No.      Location Served      Deposit?      (Month 1)     (Month 2)     (Month 3) Cash Deposit               Utility Address                   No.
Republic Services            garbage / recycle          3-0675-1257386       Bend hotel         unknown        1045.03        874.56        797.92      $905.84     PO Box 78829, Pheonix, AZ 85062-8829    541.382.2263
Cascade Natural Gas          gas manager res              08997200004        Bend hotel         unknown          15.91        107.16         87.35       $70.14     PO Box 5600, Bismarck, ND 58506-5600    888.522.1130
Cascade Natural Gas          gas building 2               16997200007        Bend hotel         unknown         225.27        219.6         511.93      $318.93     PO Box 5600, Bismarck, ND 58506-5600    888.522.1130
Cascade Natural Gas          gas office                   18997200003        Bend hotel         unknown          25.83        48.46          99.37       $57.89     PO Box 5600, Bismarck, ND 58506-5600    888.522.1130
Cascade Natural Gas          gas #600                     26997200006        Bend hotel         unknown         288.91        269.12        286.93      $281.65     PO Box 5600, Bismarck, ND 58506-5600    888.522.1130
Cascade Natural Gas          gas building 1               36997200005        Bend hotel         unknown          14.51         32.9          14.51       $20.64     PO Box 5600, Bismarck, ND 58506-5600    888.522.1130
Cascade Natural Gas          gas building 4               37997200003        Bend hotel         unknown          17.34        31.47          63.3        $37.37     PO Box 5600, Bismarck, ND 58506-5600    888.522.1130
Cascade Natural Gas          gas building 6               47997200002        Bend hotel         unknown          296.7        325.69        554.14      $392.18     PO Box 5600, Bismarck, ND 58506-5600    888.522.1130
Cascade Natural Gas          gas building 5               57997200001        Bend hotel         unknown         136.16        131.21        132.62      $133.33     PO Box 5600, Bismarck, ND 58506-5600    888.522.1130
Cascade Natural Gas          gas building 8               96997200009        Bend hotel         unknown         659.51        571.1         550.62      $593.74     PO Box 5600, Bismarck, ND 58506-5600    888.522.1130
Centurylink                  phone                         73103658          Bend hotel         unknown         516.36        514.99        514.99      $515.45     PO Box 91155, Seattle, WA 98111-9255    800.777.9594
Centurylink                  internet                  541 385 6801 801b     Bend hotel         unknown        1092.34        1093.1        1093.1     $1,092.85    PO Box 91155, Seattle, WA 98111-9255    800.777.9594
Centurylink                  phone                     541 389 2178 287b     Bend hotel         unknown          71.87        67.63          66.05       $68.52     PO Box 91155, Seattle, WA 98111-9255    800.777.9594
City of Bend                 water                        12905569000        Bend hotel         unknown         681.67         589           691.2      $653.96     PO Box 34533, Seattle, WA 98124-1533    541.388.5515
City of Bend                 sewer                        12905569000        Bend hotel         unknown        1924.64       1924.64       1987.56     $1,945.61    PO Box 34533, Seattle, WA 98124-1533    541.388.5515
City of Bend                 water                        12905569020        Bend hotel         unknown         122.23        89.81         172.88      $128.31     PO Box 34533, Seattle, WA 98124-1533    541.388.5515
City of Bend                 sewer                        12905569020        Bend hotel         unknown         324.83        324.83        303.17      $317.61     PO Box 34533, Seattle, WA 98124-1533    541.388.5515
City of Bend                 water                        12905569040        Bend hotel         unknown         602.54        430.32        611.69      $548.18     PO Box 34533, Seattle, WA 98124-1533    541.388.5515
City of Bend                 sewer                        12905569040        Bend hotel         unknown         996.59        964.44        964.44      $975.16     PO Box 34533, Seattle, WA 98124-1533    541.388.5515
City of Bend                 water                        12905569060        Bend hotel         unknown         164.36        138.4         145.45      $149.40     PO Box 34533, Seattle, WA 98124-1533    541.388.5515
City of Bend                 sewer                        12905569060        Bend hotel         unknown          644.6        623.81        623.81      $630.74     PO Box 34533, Seattle, WA 98124-1533    541.388.5515
City of Bend                 water                        12905581030        Bend hotel         unknown          38.5         38.71          44.14       $40.45     PO Box 34533, Seattle, WA 98124-1533    541.388.5515
City of Bend                 sewer                        12905581030        Bend hotel         unknown          42.39        42.39          43.8        $42.86     PO Box 34533, Seattle, WA 98124-1533    541.388.5515
City of Bend                 6" fire line water          129055344580        Bend hotel         unknown         167.15        219.09        197.04      $194.43     PO Box 34533, Seattle, WA 98124-1533    541.388.5515
City of Bend                 6" fire line sewer          129055344580        Bend hotel         unknown        1262.13       1262.13        1304.2     $1,276.15    PO Box 34533, Seattle, WA 98124-1533    541.388.5515
Pacific Power                electricity (10 meters)    02251521-001 5       Bend hotel         unknown         973.25        634.42        631.78      $746.48     PO Box 26000, Portland, OR 97256-0001   881.221.7070
Pacific Power                electricity (10 meters)    02251521-001 5       Bend hotel         unknown         560.43        458.54         486.3      $501.76     PO Box 26000, Portland, OR 97256-0001   881.221.7070
Pacific Power                electricity (10 meters)    02251521-001 5       Bend hotel         unknown        1109.87        985.49        877.04      $990.80     PO Box 26000, Portland, OR 97256-0001   881.221.7070
Pacific Power                electricity (10 meters)    02251521-001 5       Bend hotel         unknown         750.42        574.22        690.37      $671.67     PO Box 26000, Portland, OR 97256-0001   881.221.7070
Pacific Power                electricity (10 meters)    02251521-001 5       Bend hotel         unknown         722.21        504.62        567.39      $598.07     PO Box 26000, Portland, OR 97256-0001   881.221.7070
Pacific Power                electricity (10 meters)    02251521-001 5       Bend hotel         unknown         793.48        603.92        760.35      $719.25     PO Box 26000, Portland, OR 97256-0001   881.221.7070
Pacific Power                electricity (10 meters)    02251521-001 5       Bend hotel         unknown          684.9        603.92        467.42      $585.41     PO Box 26000, Portland, OR 97256-0001   881.221.7070
Pacific Power                electricity (10 meters)    02251521-001 5       Bend hotel         unknown        1440.37        994.19       1145.17     $1,193.24    PO Box 26000, Portland, OR 97256-0001   881.221.7070
Pacific Power                electricity (10 meters)    02251521-001 5       Bend hotel         unknown         451.05        353.1          453.1      $419.08     PO Box 26000, Portland, OR 97256-0001   881.221.7070
Pacific Power                electricity (10 meters)    02251521-001 5       Bend hotel         unknown         468.19        342.89        319.38      $376.82     PO Box 26000, Portland, OR 97256-0001   881.221.7070
TOTAL                                                                                                                                                  $18,193.97




                                                                                         Utility Spreadsheet - Bend - 08.2021
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Shilo Inn, Warrenton, LLC
Utility Providers
As of August 13, 2021


                                                                                                Security    Previous Bill Previous Bill Previous Bill     Proposed                                             Utility Tel.
     Utility Provider Name         Type of Utility       Account No.       Location Served      Deposit?     (Month 1)     (Month 2)     (Month 3)      Cash Deposit            Utility Address                    No.
Centurylink                  phone                         88775112        Warrenton Hotel      unknown        474.27        476.86        476.86        $   476.00 PO Box 52187, Pheonix, AZ 85072-2187      800.860.1020
Centurylink                  phone                     503 861 2194 460    Warrenton Hotel      unknown         189.5        186.04          184         $   186.51 PO Box 52187, Pheonix, AZ 85072-2187      800.860.1020
Charter Communications       internet                8787 14 002 0109902   Warrenton Hotel      unknown        263.84        263.84        259.95        $   262.54 PO Box 7173, Pasadena, CA 91109-7173      800.314.7195
City of Warrenton            sewer                        002827-000       Warrenton Hotel      unknown       1264.11       1046.81        745.59       $ 1,018.84     PO Box 250, Warrenton, OR 97146        503.861.2233
City of Warrenton            storm                        002827-000       Warrenton Hotel      unknown        361.06        208.6         148.35        $   239.34    PO Box 250, Warrenton, OR 97146        503.861.2233
City of Warrenton            water                        002827-000       Warrenton Hotel      unknown       1062.45        892.33        656.51        $   870.43    PO Box 250, Warrenton, OR 97146        503.861.2233
City of Warrenton            sewer                        109516-002       Warrenton Hotel      unknown         65.09        64.42          64.42        $    64.64    PO Box 250, Warrenton, OR 97146        503.861.2233
City of Warrenton            storm                        109516-002       Warrenton Hotel      unknown         8.48         12.12          12.12        $    10.91    PO Box 250, Warrenton, OR 97146        503.861.2233
City of Warrenton            water                        109516-002       Warrenton Hotel      unknown         49.17        63.57          63.57        $    58.77    PO Box 250, Warrenton, OR 97146        503.861.2233
NW Natural                   natural gas                   217602-2        Warrenton Hotel      unknown        636.09        680.01        593.18        $   636.43  PO Box 6017, portland, OR 97228-6017     503.721.2512
Pacific Power                electricity                59894340-001 3     Warrenton Hotel      unknown       1831.03       1352.89       1315.73       $ 1,499.88  PO Box 26000, Portland, OR 97256-0001     881.221.7070
Pacific Power                electricity                  2259593100       Warrenton Hotel      unknown                                                             PO Box 26000, Portland, OR 97256-0001     881.221.7070
Recology Western Oregon      garbage / recycle            1080037093       Warrenton Hotel      unknown        1234.49       1234.56      1225.37       $ 1,231.47 PO Box 60609, Los Angeles, CA 90060-0609   503.861.0578
TOTAL                                                                                                                                                   $ 6,555.76




                                                                                      Utility Spreadsheet - Warrenton - 08.2021
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